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Nutter
                                                                                   Alison C. Casey
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                                                 September 29, 2017
                                                       112398-2



        By Hand Delivery



        Ms. Christine Bono
        Courtroom Clerk to the Hon. Mark L. Wolf
        United Stales District Court
        District of Massachusetts
        John Joseph Moakley U.S. Courthouse
        1 Courthouse Way
        Boston, MA 02210

                    Re:   Janssen Biotech, Inc. v. Celltrion Healthcare Co., Ltd., et al.
                          Civil Action No. }:}7-cv-lI008-MLW

        Dear Ms. Bono,

                Pursuant to your September 26, 2017 email requesting a courtesy copy of each parties'
        briefs and exhibits in preparation for the motion hearing scheduled to take place on October 12-
        13, please find a binder enclosed containing Janssen's Opposition to Defendants' Motion to
        Dismiss for Lack of Standing [Dkt. No. 26] and accompanying exhibits as well as Janssen's
        Surreply in Opposition to Defendants' Motion to Dismiss for Lack of Standing [Dkt. No. 42].

                Please feel free to contact me if you have any questions.

                                                               Very truly yours.

                                                                                   r ^
                                                               Alison C. Casey
        Enclosures
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